Case 1:21-cr-00648-RBW Document 58 Filed 03/07/22 Page 1 of 10

AO 245B (Rev. 09/19) Judgment in a Criminal Case
Sheet |

UNITED STATES DISTRICT COURT

District of Columbia

)
UNITED STATES OF AMERICA ) JUDGMENT IN A CRIMINAL CASE
v. )
ADAM JOHNSON Case Number: CR 21-648 RBW

) USM Number:
) Dan Eckhart / David R. Bigney
) Defendant's Atlorney

THE DEFENDANT:

WM pleaded guilty to count(s) 1 of the information

CJ pleaded nolo contendere to count(s)

which was accepted by the court.
C] was found guilty on count(s)
“after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section Nature of Offense Offense Ended Count

18:1752(a)(1) Entering and Remaining in a Restricted Building 1/6/2021 i

The defendant is sentenced as provided in pages 2 through 1 of this judgment. The sentence is imposed pursuant to

the Sentencing Reform Act of 1984.

( The defendant has been found not guilty on count(s)

(J Count(s) J is C) are dismissed on the motion of the United States.

_ Itis ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstatices.

2/25/2022

   

(STE

Reggie B. Walton U.S. District Judge
Name and Title of Judge

Date WMyrck 7, 26 J-3~
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AO 245B (Rev. 09/19) Judgment in Criminal Case
Sheet 2 — [mprisonment

 

 

Judgment — Page 2 of
DEFENDANT: ADAM JOHNSON

CASE NUMBER: CR 21-648 RBW

IMPRISONMENT

The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a

total term of:
Seventy-Five days with credit for time served.

C] The court makes the following recommendations to the Bureau of Prisons:

CL] The defendant is remanded to the custody of the United States Marshal.

WM The defendant shall surrender to the United States Marshal for this district:
OO at Cham O pm on
(W as notified by the United States Marshal.

(J The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
[1 before 2 p.m. on
C1 as notified by the United States Marshal.

C1 as notified by the Probation or Pretrial Services Office.

RETURN
I have executed this judgment as follows:
Defendant delivered on to
at , with a certified copy of this judgment.
UNITED STATES MARSHAL
By

DEPUTY UNITED STATES MARSHAL
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AO 245B (Rev. 09/19) Judgment in a Criminal Case
Sheet 2A — Imprisonment

 

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DEFENDANT: ADAM JOHNSON

CASE NUMBER: CR 21-648 RBW

ADDITIONAL IMPRISONMENT TERMS

The court reccomends that the defendant be permitted to serve his sentence in a facility close to his home, so that he can
maintain contact with his family.
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AO 245B (Rev, 09/19) Judgment in a Criminal Case
Sheet 3 — Supervised Release

 

Juciment—Pape 4 at 1

DEFENDANT: ADAM JOHNSON
CASE NUMBER: CR 21-648 RBW
SUPERVISED RELEASE

Upon release from imprisonment, you will be on supervised release fora term of

One (1) year.

MANDATORY CONDITIONS

1. You must not commit another federal, stale or local crime.
2. You must not unlawfully possess a controlled substance.
3. You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
imprisonment and at least two periodic drug tests thereafter, as determined by the court.
[J The above drug testing condition is suspended, based on the court's determination that you
pose a low risk of future substance abuse. (check if applicable)

4. L] You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
reslilulion. (check if applicable)
5, M You must cooperate in the collection of DNA as directed by the probation officer. (check if'applicuble)

6 LJ You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, ef seg.) as
directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
reside, work, are a student, or were convicted of a qualifying offense. (check if upplicable)

7, C) You must participate in an approved program for domestic violence. (check if applicable)

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
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AO 2453 (Rev. 09/19) Judgment ina Criminal Case

Sheet 3A ~» Supervised Release

Judgment—-Pape 5 of |

DEFENDANT: ADAM JOHNSON
CASE NUMBER: CR 21-648 RBW

STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition,

tO

4.

0.

You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
release from imprisonment, unless the probalion officer instructs you lo report to a different probation office or within a different time
frame.

After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
when you must report to the probation officer, and you must report to the probation officer as instructed.

You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
court or the probation officer.

You mustanswer truthfully the questions asked by your probation officer.

You must live at a place approved by the probation officer. [f you plan to change where you live or anything about your living
arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. [notifying
the probation officer in advance is not possible due to unanticipated circumstances, you must nolify the probation officer within 72
hours of becoming aware of a change or expected change.

You must allow the probation officer to visit you at any Ume al your home or elsewhere, and you must permit the probation officer to
take any items prohibited by the conditions of your supervision that he or she observes in plain view.

You must work full time (at least 30 hours per week) ata lawful type of employment, unless the probation officer excuses you from
doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
you from doing so. If you plan to change where you work or anything aboul your work (such as your position or your job
responsibilities), you must notify the probation officer at least LO days before the change. If notifying the probation officer at least 10
days in advance is not possible duc lo unanticipated circumstances, you must nouify the probation officer within 72 hours of
becoming aware of a change or expected change.

You must not communicate or interact with someone you know is engaged in criminal activity. Ifyou know someone has been
convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
probation officer.

If you are arrested or questioned by a law enforcement officer. you must notify the probation officer within 72 hours.

You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (1.c.. anything that was
designed, or was modified for, the specific purpose of causing bodily injury or death lo another person such as nunchakus or tasers).
You must not act or make any agreement with a law enforcement agency lo act as a confidential human source or informant without
first getting the permission of the court.

Ifthe probation officer determines that you pose a risk lo another person (including an organizalion), the probation officer may
require you to notify the person about the risk and you must comply with thal instruction. The probation officer may contact the
person and confirm that you have notified the person about the risk.

You must follow the instructions of the probation officer related to the conditions of supervision.

U.S. Probation Office Use Only

A U.S, probation officer has instructed me on the conditions specified by the court and has provided me with a wrilten copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscoutts. gov.

Defendant's Signature Date
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AO 245B (Rev 09/19) Judgment ina Criminal Case
Sheet 3D Stupervised Release

 

 

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DEFENDANT: ADAM JOHNSON
CASE NUMBER: CR 21-648 RBW

SPECIAL CONDITIONS OF SUPERVISION

lf the defendant moves to another location,the defendant must notify the probation department of his new location,
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AO 245B (Rev, 09°19) Judument ina Criminal Case
Sheet 4A -— Probation

ludgment— Page 8 of 1

DEFENDANT: ADAM JOHNSON
CASE NUMBER: CR 21-648 RBW

STANDARD CONDITIONS OF SUPERVISION

As part of your probation, you must comply with the following standard conditions of supervision. These conditions are imposed because
they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation officers
to keep informed, report to the court about, and bring about improvements in your conduct and condition,

| You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of the time
you were sentenced, unless the probation officer instructs you to report to a different probation office or within a different time frame.

2. After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
when you must report to the probation officer, and you must report to the probation officer as instructed.
3. You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the

court or the probation officer,

4. You must answer truthfully the questions asked by your probation officer.

You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living

arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying

the probation officer in advance is not possible duc to unanticipated circumstances, you must nolify the probation officer within 72

hours of becoming aware of a change or expected change,

6. You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permil the probation officer to
take any items prohibited by the conditions of your supervision that he or she observes in plain view.

7. You must work full time (at least 30 hours per week) ata lawlul type of employment, unless the probation officer excuses you from
doing so, If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
responsibilities), you must nolify the probation officer at least 10 days before the change. If notifying the probatton officer at least 10
days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
becoming aware of a change or expected change.

8. You must not communicate or interact with someone you know is engaged in criminal activity. Ifyou know someone has been
convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
probation officer,

9, Ifyou are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.

10, You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.c., anything that was
designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or lasers).

[1. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without

first getting the permission of the court.

If the probation officer determines that you pose a risk lo another person (including an organization), the probation officer may

require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the

person and confirm that you have notified the person about the risk.

13. You must follow the instructions of the probation officer related to the conditions of supervision.

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U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised

Release Conditions, available at: Www alscourts.2av.

Defendant's Signature Date
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AO 245B (Rev, 09/19) — Judgment ina Criminal Case
Sheet 4C — Probation
Judgment-—Page 9 of 1

DEFENDANT: ADAM JOHNSON
CASE NUMBER: CR 21-648 RBW

ADDITIONAL STANDARD CONDITIONS OF SUPERVISION

if the $5,000 fine, the $500 restitution, or the $25 special assessment are not paid in full prior to the completion of the
defendant's prison sentence, these financial obligations will be conditions of the defendant's supervised release.

If any of the financial obligations are not paid before the completion of the defendant's prison sentence, the defendant shall
make equal monthly installments of at least $420 per month until the fine is paid in full, $45 per month until the restitution is
paid in full, and $5 per month until the special assessment is paid in full.

While any of the defendant's financial obligations remain outstanding, the defendant must provide his probation officer
access to any requested financial information, which the probation office may share with the United States attonrey's office.

The defendant shall not produce any additional personal financial obligation without the consent of the probation officer
while any of his financial obligations to the court remain unpaid.

The defendant shall perform 200 hours of community service at a rate of at least 8 hours per week,

The defendant shall not be charged or arrested for the commission of any further criminal offenses.
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AQ 245B (Rev. 09719) Judgment ina Criminal Case
Sheet 5 — Criminal Monetary Penalties
Judgment — Page 11 of {
DEFENDANT: ADAM JOHNSON
CASE NUMBER;CR 21-648 RBW

CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6,

Assessment Restitution Fine AVAA Assessment* JVTA Assessment**
TOTALS $ 25.00 $ 500.00 $ 5,000.00 $ $
L) The determination of restitution is deferred until . An Amended Judgment in a Criminal Case (40 245C) will be

entered afler such determination.
(J) The defendant must make restitution (including community restitution) lo the following payees in the amount listed below

Ifthe defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonlederal victims must be paid
before the United States is paid.

Name of Payee Total Loss*** Restitution Ordered Priority or Percentage
Architect of the Capitol $500.00

Office of the Chief Financial Officer

Attention: Kathy Sherrill, CPA

Ford House Office Building, Room H2-205

Washington, DC 20515

TOTALS $ 500.00 $ 0.00

Restitution amount ordered pursuant to plea agreement $

The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
Nifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

[] The court determined that the defendant does not have the ability to pay interest and it is ordered that:
(1) the interest requirement is waived forthe (4 fine (] restitution.

C) the interest requirement forthe (J fine (4 restitution is modified as follows:

* Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299,

** Justice for Victims o pietneeine et of 2015, Pub, L. No. | 14-22.

**" Findings for the total amount of losses are required under Chapters 109A, 110, LLOA, and 113A of Title [8 for offenses committed on
or after September 13,1994, but before April 23, 1996
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AO 245B (Rev. 09/19) Judgment in a Criminal Case
Sheet SA — Criminal Monetary Penalties

 

Judgment—Page 12 of
DEFENDANT: ADAM JOHNSON
CASE NUMBER: CR 21-648 RBW

ADDITIONAL TERMS FOR CRIMINAL MONETARY PENALTIES

If the defendant cannot afford to pay the fine of $5,000, the defendant is required to pay a monntly fee of $150 until the
entire amount is paid.
